                                                                                    Case number: 14-52222-ASW
                                                                                    In re: Dene Bustichi and Melodie Bustichi
              B6 Cover (Form 6 Cover) (12/07)



               FORM 6. SCHEDULES

               Summary of Schedules
               Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
               Schedule A - Real Property
               Schedule B - Personal Property
               Schedule C - Property Claimed as Exempt
               Schedule D - Creditors Holding Secured Claims
               Schedule E - Creditors Holding Unsecured Priority Claims
               Schedule F - Creditors Holding Unsecured Nonpriority Claims
               Schedule G - Executory Contracts and Unexpired Leases
               Schedule H - Codebtors
               Schedule I - Current Income of Individual Debtor(s)
               Schedule J - Current Expenditures of Individual Debtor(s)

               Unsworn Declaration under Penalty of Perjury

               GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
               amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
               identified with the debtor’s name and case number. If the schedules are filed with the petition,
               the case number should be left blank

               Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
               claim is secured only in part or entitled to priority only in part, it still should be listed only once.
               A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
               which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
               the same claim twice. If a creditor has more than one claim, such as claims arising from separate
               transactions, each claim should be scheduled separately.

               Review the specific instructions for each schedule before completing the schedule.




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B6A (Official Form 6A) (12/07)


In re      Dene Bustichi & Melodie Bustichi                                                                        Case No. 14-52222-ASW
                                   Debtor                                                                                            (If known)

                                                              SCHEDULE A - REAL PROPERTY
   Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
Property Claimed as Exempt.




                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                            OR COMMUNITY
                                                                                                                                                   CURRENT VALUE
                                                                                                                                                     OF DEBTOR’S
                  DESCRIPTION AND LOCATION                                              NATURE OF DEBTOR’S                                           INTEREST IN     AMOUNT OF
                         OF PROPERTY                                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT    SECURED
                                                                                                                                                   DEDUCTING ANY       CLAIM
                                                                                                                                                   SECURED CLAIM
                                                                                                                                                    OR EXEMPTION



 Scotts Valley Drive Commercial Property                                          Fee Simple                                   J                      2,800,000.00     4,615,222.23
 4652 & 4654 Scotts Valley Drive
 Scotts Valley, CA 95066
 Value based on limited Appraisal this year


 Primary Residence                                                                Fee Simple                                  J                         690,000.00     3,215,947.89
 13 Sunset Terrace
 Scotts Valley, CA 95066
 Value per Eppraisal.com $541,433; Debtor's
 opinon $690K because of unpermited additions
 and condition


 Sunset Terrace Property                                                          Fee Simple                                  C                         402,045.00       87,832.63
 19 Sunset Terrace
 Scotts Valley, CA 95066
 Debtor owns 25%
 Value per Eppraisal.com




                                                                                                                  Total
                                                                                                                                                      3,892,045.00

                                                                                                                  (Report also on Summary of Schedules.)

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B6B (Official Form 6B) (12/07)


In re      Dene Bustichi & Melodie Bustichi                                                                        Case No. 14-52222-ASW
                                   Debtor                                                                                            (If known)

                                                    SCHEDULE B - PERSONAL PROPERTY
     Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

      If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                            OR COMMUNITY
                                                                                                                                                                 DEBTOR’S INTEREST
                                                             N                                                                                                      IN PROPERTY,
              TYPE OF PROPERTY                               O                             DESCRIPTION AND LOCATION                                                   WITHOUT
                                                             N                                   OF PROPERTY                                                      DEDUCTING ANY
                                                             E                                                                                                    SECURED CLAIM
                                                                                                                                                                   OR EXEMPTION


  1. Cash on hand.                                                   Cash on hand                                                             J                            50.00
                                                                     Debtors' possession

  2. Checking, savings or other financial                            County Bank of Santa Cruz checking (2)                                   C                         4,500.00
  accounts, certificates of deposit, or shares in
  banks, savings and loan, thrift, building and                      Debtors' possession
  loan, and homestead associations, or credit
  unions, brokerage houses, or cooperatives.


  3. Security deposits with public utilities,                X
  telephone companies, landlords, and others.

  4. Household goods and furnishings, including                      Furniture                                                                C                         1,000.00
  audio, video, and computer equipment.
                                                                     Debtors' residence

                                                                     Linens, sheets and towels                                                C                           100.00
                                                                     Debtors' residence

                                                                     Mattress and box spring                                                  C                            75.00
                                                                     Debtors' residence

                                                                     Personal computer                                                        C                           100.00
                                                                     Debtors' residence

                                                                     Refrigerator                                                             C                           300.00
                                                                     Debtors' residence

                                                                     Small kitchen appliances                                                 C                           100.00
                                                                     Debtors' residence




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B6B (Official Form 6B) (12/07) -- Cont.


In re      Dene Bustichi & Melodie Bustichi                                                                        Case No. 14-52222-ASW
                                   Debtor                                                                                            (If known)

                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                            OR COMMUNITY
                                                                                                                                                                 DEBTOR’S INTEREST
                                                             N                                                                                                      IN PROPERTY,
             TYPE OF PROPERTY                                O                             DESCRIPTION AND LOCATION                                                   WITHOUT
                                                             N                                   OF PROPERTY                                                      DEDUCTING ANY
                                                             E                                                                                                    SECURED CLAIM
                                                                                                                                                                   OR EXEMPTION



                                                                     TV's, stereos, other electronics                                         C                           400.00
                                                                     Debtors' residence

                                                                     Washer and dryer                                                         C                           300.00
                                                                     Debtors' residence

  5. Books. Pictures and other art objects,                  X
  antiques, stamp, coin, record, tape, compact disc,
  and other collections or collectibles.

  6. Wearing apparel.                                                Clothing and Wearing Apparel                                             C                           400.00
                                                                     Debtors' residence and debtors' person

  7. Furs and jewelry.                                               Jewelry                                                                  C                           400.00
                                                                     Debtors' residence and debtors' person

  8. Firearms and sports, photographic, and                  X
  other hobby equipment.

  9. Interests in insurance policies. Name                   X
  insurance company of each policy and itemize
  surrender or refund value of each.

  10. Annuities. Itemize and name each issuer.               X
  11. Interests in an education IRA as defined in            X
  26 U.S.C. § 530(b)(1) or under a qualified State
  tuition plan as defined in 26 U.S.C. § 529(b)(1).
  Give particulars. (File separately the record(s) of
  any such interest(s). 11 U.S.C. § 521(c).)

  12. Interests in IRA, ERISA, Keogh, or other                       IRA                                                                      C                         1,800.00
  pension or profit sharing plans. Give particulars.
                                                                     Debtors' possession

  13. Stock and interests in incorporated and                X
  unincorporated businesses. Itemize.

  14. Interests in partnerships or joint ventures.                   Stock in B.C.I. Builders, Inc.                                           H                       115,000.00
  Itemize.




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B6B (Official Form 6B) (12/07) -- Cont.


In re      Dene Bustichi & Melodie Bustichi                                                                        Case No. 14-52222-ASW
                                   Debtor                                                                                            (If known)

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                            OR COMMUNITY
                                                                                                                                                                 DEBTOR’S INTEREST
                                                             N                                                                                                      IN PROPERTY,
             TYPE OF PROPERTY                                O                             DESCRIPTION AND LOCATION                                                   WITHOUT
                                                             N                                   OF PROPERTY                                                      DEDUCTING ANY
                                                             E                                                                                                    SECURED CLAIM
                                                                                                                                                                   OR EXEMPTION



                                                                     Debtor's possession;
                                                                     Tools 10K;
                                                                     Forklift: 15K
                                                                     AR       50K
                                                                     Good will:

  15. Government and corporate bonds and other               X
  negotiable and non-negotiable instruments.

  16. Accounts receivable.                                   X
  17. Alimony, maintenance, support, and                     X
  property settlement to which the debtor is or
  may be entitled. Give particulars.

  18. Other liquidated debts owing debtor                    X
  including tax refunds. Give particulars.

  19. Equitable or future interests, life estates, and       X
  rights or powers exercisable for the benefit of
  the debtor other than those listed in Schedule A -
  Real Property.

  20. Contingent and noncontingent interests in              X
  estate or a decedent, death benefit plan, life
  insurance policy, or trust.

  21. Other contingent and unliquidated claims of            X
  every nature, including tax refunds,
  counterclaims of the debtor, and rights of setoff
  claims. Give estimated value of each.

  22. Patents, copyrights, and other intellectual            X
  property. Give particulars.

  23. Licenses, franchises, and other general                X
  intangibles. Give particulars.

  24. Customer lists or other compilations                   X
  containing personally identifiable information
  (as defined in 11 U.S.C. §101(41A)) provided to
  the debtor by individuals in connection with
  obtaining a product or service from the debtor
  primarily for personal, family, or household
  purposes.

  25. Automobiles, trucks, trailers, and other                       1972 Chevrolet/Blazer (173,000 miles)                                    C                         2,500.00
  vehicles and accessories.
                                                                     Debtors' residence
                                                                     Need restoration

                                                                     2003 GMC/C4C042 (48,894 miles)                                           C                        11,000.00




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B6B (Official Form 6B) (12/07) -- Cont.


In re      Dene Bustichi & Melodie Bustichi                                                                        Case No. 14-52222-ASW
                                   Debtor                                                                                            (If known)

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                            OR COMMUNITY
                                                                                                                                                                 DEBTOR’S INTEREST
                                                             N                                                                                                      IN PROPERTY,
             TYPE OF PROPERTY                                O                             DESCRIPTION AND LOCATION                                                   WITHOUT
                                                             N                                   OF PROPERTY                                                      DEDUCTING ANY
                                                             E                                                                                                    SECURED CLAIM
                                                                                                                                                                   OR EXEMPTION



                                                                     Debtors' residence


                                                                     2004 Hummer H2 (65,845 miles)                                            C                        16,000.00
                                                                     Debtors' residence
                                                                     Retail Value


                                                                     2006 GMC/1/2 T Pick Up (94,658 miles)                                    C                         5,000.00
                                                                     Debtors' residence


                                                                     2006 GMC/1/2 T Pick up (106,800 miles)                                   C                         5,000.00
                                                                     Debtors' residence


                                                                     2007 Dodge/2500 Pick Up (108,339 miles)                                  C                        11,000.00
                                                                     Debtors' residence


                                                                     1999 VM/Carrier                                                          C                           500.00
                                                                     Debtors' residence


                                                                     Motorhome '06 Winnebago                                                  C                        42,000.00
                                                                     Debtors' residence;
                                                                     Represents Dbetors' opinon of value


  26. Boats, motors, and accessories.                                1999 Centurian/Runabout (320 hours)                                      C                         9,000.00
                                                                     Debtors' residence


  27. Aircraft and accessories.                              X
  28. Office equipment, furnishings, and supplies.           X




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B6B (Official Form 6B) (12/07) -- Cont.


In re      Dene Bustichi & Melodie Bustichi                                                                                Case No. 14-52222-ASW
                                   Debtor                                                                                                    (If known)

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                                                                     CURRENT VALUE OF




                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                     DEBTOR’S INTEREST
                                                             N                                                                                                                          IN PROPERTY,
              TYPE OF PROPERTY                               O                             DESCRIPTION AND LOCATION                                                                       WITHOUT
                                                             N                                   OF PROPERTY                                                                          DEDUCTING ANY
                                                             E                                                                                                                        SECURED CLAIM
                                                                                                                                                                                       OR EXEMPTION


  29. Machinery, fixtures, equipment, and                    X
  supplies used in business.

  30. Inventory.                                             X
  31. Animals.                                               X
  32. Crops - growing or harvested. Give                     X
  particulars.

  33. Farming equipment and implements.                      X
  34. Farm supplies, chemicals, and feed.                    X
  35. Other personal property of any kind not                X
  already listed. Itemize.




                                                                                                   0                                                                                 $
                                                                                                                  continuation sheets attached        Total                               226,525.00
                                                                                                                  (Include amounts from any continuation
                                                                                                                    sheets attached. Report total also on
                                                                                                                          Summary of Schedules.)




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  B6C (Official Form 6C) (04/13)


In re      Dene Bustichi & Melodie Bustichi                                                                         Case No. 14-52222-ASW
                                   Debtor                                                                                             (If known)

                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
  Debtor claims the exemptions to which debtor is entitled under:
  (Check one box)

         11 U.S.C. § 522(b)(2)                                                                      Check if debtor claims a homestead exemption that exceeds
                                                                                                    $155,675*.
        11 U.S.C. § 522(b)(3)



                                                                                                                                                     CURRENT
                                                                                       SPECIFY LAW                           VALUE OF           VALUE OF PROPERTY
               DESCRIPTION OF PROPERTY                                               PROVIDING EACH                          CLAIMED            WITHOUT DEDUCTING
                                                                                        EXEMPTION                           EXEMPTION               EXEMPTION


   Cash on hand                                                        C.C.P. 703.140(b)(5)                                           50.00                       50.00

   Clothing and Wearing Apparel                                        C.C.P. 703.140(b)(3)                                          400.00                      400.00

   Furniture                                                           C.C.P. 703.140(b)(3)                                        1,000.00                     1,000.00

   Jewelry                                                             C.C.P. 703.140(b)(4)                                          400.00                      400.00

   Linens, sheets and towels                                           C.C.P. 703.140(b)(3)                                          100.00                      100.00

   Mattress and box spring                                             C.C.P. 703.140(b)(3)                                           75.00                       75.00

   Personal computer                                                   C.C.P. 703.140(b)(3)                                          100.00                      100.00

   Refrigerator                                                        C.C.P. 703.140(b)(3)                                          300.00                      300.00

   Small kitchen appliances                                            C.C.P. 703.140(b)(3)                                          100.00                      100.00

   TV's, stereos, other electronics                                    C.C.P. 703.140(b)(3)                                          400.00                      400.00

   Washer and dryer                                                    C.C.P. 703.140(b)(3)                                          300.00                      300.00

   2004 Hummer H2 (65,845 miles)                                       C.C.P. 703.140(b)(2)                                        5,082.00                 16,000.00

   County Bank of Santa Cruz checking (2)                              C.C.P. 703.140(b)(5)                                        4,500.00                     4,500.00

   IRA                                                                 C.C.P. 703.140(b)(10)(E)                                    1,800.00                     1,800.00

   Stock in B.C.I. Builders, Inc.                                      C.C.P. 703.140(b)(5)                                       22,375.00                115,000.00

                                                                       Total exemptions claimed:                                  36,982.00




 *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)

         Dene Bustichi & Melodie Bustichi
In re _______________________________________________,                                                                           Case No.14-52222-ASW
                                                                                                                                          _________________________________
                                       Debtor                                                                                                                                   (If known)

                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
          State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
§112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community."
          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


           Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                            AMOUNT
                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                               UNLIQUIDATED
                                                                                                                                  CONTINGENT
                                                                                                 DATE CLAIM WAS INCURRED,                                                      OF
                                                            CODEBTOR




                                                                                                                                                               DISPUTED
                                                                         ORCOMMUNITY




            CREDITOR’S NAME,
             MAILING ADDRESS                                                                        NATURE OF LIEN, AND                                                      CLAIM           UNSECURED
           INCLUDING ZIP CODE,                                                                       DESCRIPTION AND                                                        WITHOUT           PORTION,
          AND ACCOUNT NUMBER                                                                        VALUE OF PROPERTY                                                      DEDUCTING           IF ANY
            (See Instructions Above.)                                                                 SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                          COLLATERAL


ACCOUNT NO. xxxx-4182                                                                         Incurred: 10/2006                                                                               10,136.00
                                                                                              Lien: PMSI in vehicle > 910 days
Bank of America
                                                                                              Security: Motorhome
4161 Piedmont Pkwy.                                                    C                                                                                                    52,136.00
Greensboro, NC 27410

                                                                                              VALUE $                42,000.00
ACCOUNT NO. xxxx-4182                                                                         Incurred: 10/2006
                                                                                              Lien: PMSI in vehicle > 910 days
Bankamerica*
                                                                                              Security: Motorhome
P.O. Box 15168                                                         C                                                                                                  Notice Only    Notice Only
Wilmington, DE 19850

                                                                                              VALUE $                42,000.00
ACCOUNT NO. 9221744163                                                                        Incurred: 4/2006
                                                                                              Lien: 2nd Deed of Trust
Citibank N.A.*
                                                                                              Security: Primary Residence
Attn: Centralized Bankruptcy                                           J                                                                                                  Notice Only    Notice Only
P.O. Box 20363
Kansas City, MO 64195
                                                                                               VALUE $              690,000.00

   2
 _______ continuation sheets attached                                                                                            Subtotal     $                             52,136.00   $     10,136.00
                                                                                                                         (Total of this page)
                                                                                                                                     Total    $                                         $
                                                                                                                      (Use only on last page)
                                                                                                                                                               (Report also on       (If applicable, report
                                                                                                                                                               Summary of Schedules) also on Statistical
                                                                                                                                                                                     Summary of Certain
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                                                                                                                                                                                     Data.)
                                                                                                                                                                                                and Related
B6D (Official Form 6D) (12/07) – Cont.



         Dene Bustichi & Melodie Bustichi
In re __________________________________________________,                                                                                       14-52222-ASW
                                                                                                                                    Case No. _________________________________
                                                   Debtor                                                                                                                                     (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                       (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                     AMOUNT




                                                                                                                                                         UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                            CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                              OF




                                                                                                                                                                        DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                              CLAIM          UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                                WITHOUT          PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                              DEDUCTING          IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                               VALUE OF
                                                                                                                                                                                   COLLATERAL

ACCOUNT NO. 9221744163                                                                        Incurred: 4/2006                                                                                       8,115.26
                                                                                              Lien: 2nd Deed of Trust
Citibankna                                                                                                                                                                                       This amount
                                                                                              Security: Primary Residence
P.O. Box 769006                                                          J                                                                                                           492,931.16 based upon
San Antonio, TX 78245                                                                                                                                                                            existence of
                                                                                                                                                                                                Superior Liens
                                                                                              VALUE $                      690,000.00
ACCOUNT NO. 683889091                                                                         Incurred: 3/2002
                                                                                              Lien: 1st Deed of Trust
Green Tree Servicing L.
                                                                                              Security: Primary Residence
P.O. Box 6172                                                            J                                                                                                           205,184.10               0.00
Rapid City, SD 57709

                                                                                              VALUE $                      690,000.00
ACCOUNT NO.                                                                                   Incurred: 12/13/2012
                                                                                              Lien: Abstract of judgment
Ipayment, Inc.                                                                                Security: All Santa Cruz Co. Real Property
c/o Walker, Lorna                                                        W                    Case No. CISCV175806                                                                    13,146.11               0.00
2380 Junipero Serra Blvd. Ste. B
Daly City, CA 94015-1647
                                                                                              VALUE $                      100,511.00
ACCOUNT NO.                                                                                   Incurred: 7/11/2008
                                                                                              Lien: Indemnity                                                                                    1,805,504.00
Liberty Mutual Surety                                                                         Security: Primary Residence & Scotts Valley                                                        This amount
9450 Seward Rd.                                                          J                    Dr. Property                                                                         2,500,000.00 based upon
                                                                                              Cross-collateralized
Fairfiled, OH 45014                                                                                                                                                                              existence of
                                                                                                                                                                                                Superior Liens
                                                                                              VALUE $                   3,490,000.00
ACCOUNT NO.                                                                                   Incurred: 6/12/2013
                                                                                              Lien: Abstract of judgment
North American Bancard L.L.C.                                                                 Security: All Santa Cruz Co. Real Property
c/o Walker, Lorna                                                        W                    Case No. CISCV177127                                                                     4,686.52               0.00
2380 Junipero Serra Blvd. Ste. B
Daly City, CA 94015
                                                                                              VALUE $                      100,511.00
           1 of ___continuation
                 2
Sheet no. ___                   sheets attached to                                                                                    Subtotal (s)    $ 3,215,947.89 $
Schedule of Creditors Holding Secured Claims                                                                                  (Total(s) of this page)
                                                                                                                                            Total(s) $               $
                                                                                                                             (Use only on last page)
                                                                                                                                                                             (Report also on       (If applicable, report
                                                                                                                                                                             Summary of Schedules) also on Statistical
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14
  Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-813 - 31614-302Y-***** - PDF-XChange 3.0                                                                   19:11:12 PageSummary     10 ofof Certain
                                                                                                     39                                                                                            Liabilities and Related
                                                                                                                                                                                                   Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Dene Bustichi & Melodie Bustichi
In re __________________________________________________,                                                                                    14-52222-ASW
                                                                                                                                 Case No. _________________________________
                                                   Debtor                                                                                                                                 (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                 AMOUNT




                                                                                                                                                     UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                        CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                          OF




                                                                                                                                                                    DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                          CLAIM          UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                            WITHOUT          PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                          DEDUCTING          IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                               COLLATERAL

ACCOUNT NO. 022-491-15                                                                        Incurred: 2013-2014
                                                                                              Lien: Property Tax
Santa Cruz County Tax Collector                                                               Security: Scotts Valley Drive Property
701 Ocean Street, Room 150                                               J                                                                                                        24,227.00               0.00
Santa Cruz, CA 95060

                                                                                              VALUE $                 2,800,000.00
ACCOUNT NO. 498694728-9001                                                                    Incurred: 2007
                                                                                              Lien: 1st Deed of Trust
Umpqua Bank                                                                                   Security: Scotts Valley Drive Property
P.O. Box 19246                                                           J                    T.S. No.: 14011607                                                               2,073,162.87               0.00
Spokane, WA 99219

                                                                                              VALUE $                 2,800,000.00
ACCOUNT NO. xxxx-2631                                                                         Incurred: 2/2012
                                                                                              Lien: PMSI in vehicle < 910 days
Wheels Financial Group*                                                                       Security: 2004 Hummer H2 (65,845 miles)
dba Loan Mart 800 Loan Mart                                              W                                                                                                        10,918.00               0.00
15821 Ventura Blvd. Ste. 280
Encino, CA 91436
                                                                                              VALUE $                     22,842.00
ACCOUNT NO.




                                                                                              VALUE $
ACCOUNT NO.




                                                                                              VALUE $
           2 of ___continuation
Sheet no. ___    2              sheets attached to                                                                                 Subtotal (s)    $ 2,108,307.87 $       0.00
Schedule of Creditors Holding Secured Claims                                                                               (Total(s) of this page)
                                                                                                                                         Total(s) $ 5,376,391.76 $1,823,755.26
                                                                                                                          (Use only on last page)
                                                                                                                                                                         (Report also on       (If applicable, report
                                                                                                                                                                         Summary of Schedules) also on Statistical
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14
  Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-813 - 31614-302Y-***** - PDF-XChange 3.0                                                               19:11:12 PageSummary     11 ofof Certain
                                                                                                     39                                                                                        Liabilities and Related
                                                                                                                                                                                               Data.)
B6E (Official Form 6E) (04/13)


          Dene Bustichi & Melodie Bustichi
   In re________________________________________________________________,
                                                                                                                                  14-52222-ASW
                                                                                                                 Case No.______________________________
                           Debtor                                                                                              (if known)

         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
  unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
  address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
  property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
  the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
  the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
  entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
  both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
  Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
  in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
  more than one of these three columns.)

        Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
  Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

            Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
  amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
  primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

           Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
  amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
  with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
  Data.



       Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                              (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



        Domestic Support Obligations

      Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case

      Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions

         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
 independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
 cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans

            Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Case:
         *Amount14-52222          Doc#    24 Filed:
                                                  and every07/07/14        Entered:      07/07/14
                                                                                                to cases19:11:12
 Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-813 - 31614-302Y-***** - PDF-XChange 3.0
                 subject to adjustment on 4/01/16           three years thereafter with respect          commenced on Page     12date
                                                                                                                      or after the of of adjustment.
                                                                     39
  B6E (Official Form 6E) (04/13) - Cont.

              Dene Bustichi & Melodie Bustichi
      In re________________________________________________________________,                                           14-52222-ASW
                                                                                                              Case No.______________________________
                              Debtor                                                                                        (if known)




        Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


        Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
 that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units

     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



        Commitments to Maintain the Capital of an Insured Depository Institution

    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
 Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
 U.S.C. § 507 (a)(9).



        Claims for Death or Personal Injury While Debtor Was Intoxicated

      Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




        * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
        adjustment.




                                                                            3
                                                                          ____ continuation sheets attached




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                                                                                    39
B6E (Official Form 6E) (04/13) - Cont.


           Dene
       In re     Bustichi & Melodie Bustichi
             __________________________________________________,                                                                                                     Case No.14-52222-ASW
                                                                                                                                                                              _________________________________
                                            Debtor                                                                                                                                       (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                            Sec. 507(a)(7)

                                                                                                                                                               Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                     UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                        CONTINGENT
                                                                                                                                                                                                        AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                    DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                         AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                           OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                           CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                                PRIORITY, IF
                                                                                                                                                                                                          ANY

ACCOUNT NO.
                                                                                              Incurred: 2011
                                                                                              Consideration: Lease
KAS
                                                                                              security deposit
4652 Scotts Valley Dr. #108                                                                                                                                            2,500.00          2,500.00             0.00
Scotts Valley, CA 95066



ACCOUNT NO.
                                                                                              Incurred: 2007
                                                                                              Consideration: Lease
Mint
                                                                                              security depo
4652 Scotts Valley Dr. #103                                                                                                                                            2,500.00          2,500.00             0.00
Scotts Valley, CA 95066



ACCOUNT NO.                                                                                   Incurred: 2012
                                                                                              Consideration: lease
Palomar Ballroom
                                                                                              security deposit
4652 Scotts Valley Dr. #204                                                                                                                                            2,375.00          2,375.00             0.00
Scotts Valley, CA 95066



ACCOUNT NO.                                                                                   Incurred: 2013
                                                                                              Consideration: lease
Perry Ralston
                                                                                              security depo
4652 Scotts Valley Dr. #106                                                                                                                                            2,027.00          2,027.00             0.00
Scotts Valley, CA 95066



           1 of ___continuation
                 3                                                                                                  Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                        9,402.00          9,402.00             0.00
                                                                                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                     Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                     Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




          Case: 14-52222                       Doc# 24                                  Filed: 07/07/14 Entered: 07/07/14 19:11:12
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                                                                                                      39
B6E (Official Form 6E) (04/13) - Cont.


           Dene
       In re     Bustichi & Melodie Bustichi
             __________________________________________________,                                                                                                     Case No.14-52222-ASW
                                                                                                                                                                              _________________________________
                                            Debtor                                                                                                                                       (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                            Sec. 507(a)(7)

                                                                                                                                                               Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                     UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                        CONTINGENT
                                                                                                                                                                                                        AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                    DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                         AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                           OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                           CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                                PRIORITY, IF
                                                                                                                                                                                                          ANY

ACCOUNT NO.
                                                                                              Incurred: 2011
                                                                                              Consideration: lease
RKD
                                                                                              security depo
4652 Scotts Valley Dr. #107                                                                                                                                            2,500.00          2,500.00             0.00
Scotts Valley, CA 95066



ACCOUNT NO.
                                                                                              Incurred: 2012
                                                                                              Consideration: lease
Teal
                                                                                              security depo
4652 Scotts Valley Dr. #101                                                                                                                                            2,500.00          2,500.00             0.00
Scotts Valley, CA 95066



ACCOUNT NO.




ACCOUNT NO.




           2 of ___continuation
                 3                                                                                                  Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                        5,000.00          5,000.00             0.00
                                                                                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                     Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                     Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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                                                                                                      39
B6E (Official Form 6E) (04/13) - Cont.


           Dene
       In re     Bustichi & Melodie Bustichi
             __________________________________________________,                                                                                                    Case No.14-52222-ASW
                                                                                                                                                                             _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(8)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                     xxx-xx-4728                                                              Incurred: 2010-2013
                                                                                              Consideration:
Franchise Tax Board
                                                                                              Personal Income Tax
P.O. Box 942867                                                           J                                                                                        Notice Only      Notice Only      Notice Only
Sacramento, CA 94267-0011



ACCOUNT NO.
                     xxx-xx-4728                                                              Incurred: 2010-2013
                                                                                              Consideration:
Internal Revenue Service
                                                                                              Personal Income Tax
P.O. Box 7346                                                             J                                                                                        Notice Only      Notice Only      Notice Only
Philadelphia, PA 19101-7346



ACCOUNT NO.




ACCOUNT NO.




           3 of ___continuation
                 3                                                                                                 Subtotal                                    $           0.00     $        0.00    $       0.00
Sheet no. ___                    sheets attached to Schedule of                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $     14,402.00
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $   14,402.00    $       0.00
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




          Case: 14-52222                       Doc# 24                                  Filed: 07/07/14 Entered: 07/07/14 19:11:12
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                                                                                                      39
B6F (Official Form 6F) (12/07)

         Dene Bustichi & Melodie Bustichi
 In re __________________________________________,                                                                               14-52222-ASW
                                                                                                                     Case No. _________________________________
                                Debtor                                                                                                                          (If known)

      SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
             State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
 against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
 useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
 of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
 appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
 community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

           Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
 Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
 Related Data.
          Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                HUSBAND, WIFE, JOINT




                                                                                                                                                 UNLIQUIDATED
                                                                  ORCOMMUNITY




                                                                                                                                    CONTINGENT
                                                     CODEBTOR




                                                                                            DATE CLAIM WAS INCURRED AND




                                                                                                                                                                DISPUTED
            CREDITOR’S NAME,                                                                                                                                                   AMOUNT
             MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                            IF CLAIM IS SUBJECT TO SETOFF,                                                       OF
           INCLUDING ZIP CODE,                                                                                                                                                  CLAIM
          AND ACCOUNT NUMBER                                                                           SO STATE.
            (See instructions above.)

ACCOUNT NO.         xxxx-9759                                                          Incurred: 3/2014
                                                                                       Consideration: Credit Card Debt
Afni*
                                                                                       (Unsecured)
Attention: Bankruptcy                                           H                                                                                                              Notice Only
1310 Martin Luther King Dr.
Bloomington, IL 61701


ACCOUNT NO.         xxxx-9759                                                          Incurred: 3/2014
                                                                                       Consideration: Credit Card Debt
Afni, Inc.
                                                                                       (Unsecured)
P.O. Box 3097                                                   H                                                                                                                        95.00
Bloomington, IL 61702
                                                                                       Original Creditor: Dish Network




ACCOUNT NO.         xxxx-0721                                     Incurred: 10/2013
                                                                  Consideration: Credit Card Debt
Allianceone Receivable
                                                                  (Unsecured)
6565 Kimball Dr.                                                W                                                                                                              Notice Only
Gig Harbor, WA 98335                                              Original Creditor: San Diego
                                                                  1. Closed



ACCOUNT NO.         xxxx-0721                                                          Incurred: 10/2013
                                                                                       Consideration: Credit Card Debt
Allied Credit/Alliance One*
                                                                                       (Unsecured)
Attn: Bankruptcy                                                W                                                                                                              Notice Only
P.O. Box 2449
Gig Harbor, WA 98335


      11 continuation sheets attached
    _______                                                                                                                       Subtotal                                 $             95.00
                                                                                                                                Total                                      $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                        (Report also on Summary of Schedules and, if applicable, on the Statistical
           Case:
   Bankruptcy2014      14-52222
                  ©1991-2014,                 Doc#
                              New Hope Software,             24 - 31614-302Y-*****
                                                 Inc., ver. 4.7.7-813 Filed: 07/07/14
                                                                                   - PDF-XChange 3.0Entered: 07/07/14 19:11:12
                                                                                     Summary of Certain Liabilities and Related Data.)                                     Page 17 of
                                                                                                     39
B6F (Official Form 6F) (12/07) - Cont.


          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.                                                                                    Incurred: 2010-2014
                                                                                               Consideration: Utilities
AT&T
P.O. Box 6500                                                            C                                                                                                                                315.43
Sioux Falls, SD 57117-6500



ACCOUNT NO.          xxxx-9883                                             Incurred: 1/2001
                                                                           Consideration: Credit Card Debt
Atlantic Crd
                                                                           (Unsecured)
P.O. Box 13386                                                           W                                                                                                                               9,369.00
Roanoke, VA 24033
                                                                           Original Creditor: HSBC



ACCOUNT NO.                                                                                    Incurred: 2013
                                                                                               Consideration: breach of contract
Atrium Windows & Doors
c/oIan Bardin                                                                                                                                                                                     Notice Only
212 Yacht Club Way suite A4
Redondo Beach, CA 90277


ACCOUNT NO.          xxxx-5426                                                                 Incurred: 2010-2014
                                                                                               Consideration: Credit Card Debt
Bank of America
                                                                                               (Unsecured)
Attn: Bankruptcy NC4-105-0299                                            C                                                                                                                              74,672.91
P.O. Box 26012
Greensboro, NC 26012


 ACCOUNT NO.         xxxx-0239                                                                 Incurred: 6/2005
                                                                                               Consideration: Credit Card Debt
Bank of America*
                                                                                               (Unsecured)
Attention: Recovery Department                                           H                                                                                                                        Notice Only
4161 Peidmont Pkwy.
Greensboro, NC 27410


           1 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $         84,357.34
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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B6F (Official Form 6F) (12/07) - Cont.


          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.          xxxx-1286                                                                 Incurred: 3/2002
                                                                                               Consideration: possible deficiency on
Bank of America*
                                                                                               foreclosed property
Attn: Correspondence                                                     J                                                                                                                        Notice Only
Unit/CA6-919-02-41
P.O. Box 5170
Simi Valley, CA 93062

ACCOUNT NO.                                                                                    Incurred: 2013
                                                                                               Consideration: Unpaid Building materials
Big Creek Lumber
2801 Soquel Ave.                                            X                                                                                                                                            2,732.00
Santa Cruz, CA 95062



ACCOUNT NO.          xxxx-1286                                                                 Incurred: 3/2002
                                                                                               Consideration: possible deficiency on
Bk of Amer
                                                                                               foreclosed property
4161 Piedmont Pkwy.                                                      J                                                                                                                        Notice Only
Greensboro, NC 27410                                                                           1. Closed



ACCOUNT NO.          xxxx-4727                                                                 Incurred: 8/1999
                                                                                               Consideration: possible deficiency on
Bk of Amer
                                                                                               foreclosed property
4161 Piedmont Pkwy.                                                      H                                                                                                                        Notice Only
Greensboro, NC 27410                                                                           1. Closed



 ACCOUNT NO.         xxxx-0239                                                                 Incurred: 6/2005
                                                                                               Consideration: Credit Card Debt
Bk of Amer
                                                                                               (Unsecured)
P.O. Box 982238                                                          H                                                                                                                        Notice Only
El Paso, TX 79998
                                                                                               1. Closed by grantor



           2 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $          2,732.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.                                                                                    Incurred: 2010-2014
Bogner's All Air
5310 C Scotts Valley Dr.                                                 C                                                                                                                                440.00
Scotts Valley, CA 95066



ACCOUNT NO.          xxxx-3505                                             Incurred: 1/2001
                                                                           Consideration: Credit Card Debt
Cal Svc Bur
                                                                           (Unsecured)
100 Wood Hollow Dr. Ste. 2                                               W                                                                                                                                203.00
Novato, CA 94945
                                                                           Original Creditor: NOB Hill



ACCOUNT NO.          xxxx-7985                                             Incurred: 10/2008
                                                                           Consideration: Credit Card Debt
Cap One
                                                                           (Unsecured)
P.O. Box 30253                                                           W                                                                                                                        Notice Only
Salt Lake City, UT 84130                                                   1. Closed
                                                                           2. Transferred


ACCOUNT NO.          xxxx-9048                                                                 Incurred: 6/2006
                                                                                               Consideration: Credit Card Debt
Cap One
                                                                                               (Unsecured)
Pob 30281                                                                H                                                                                                                              20,128.00
Salt Lake City, UT 84130



 ACCOUNT NO.         xxxx-2113                                             Incurred: 8/2003
                                                                           Consideration: Credit Card Debt
Cap One
                                                                           (Unsecured)
Pob 30281                                                                W                                                                                                                               2,569.00
Salt Lake City, UT 84130
                                                                           1. Closed by grantor



           3 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $         23,340.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.          xxxx-2646                                                                 Incurred: 2/2008
                                                                                               Consideration: Credit Card Debt
Cap One
                                                                                               (Unsecured)
Pob 30281                                                                W                                                                                                                               1,162.00
Salt Lake City, UT 84130



ACCOUNT NO.          xxxx-9048                                                                 Incurred: 6/2006
                                                                                               Consideration: Credit Card Debt
Capital 1 Bank*
                                                                                               (Unsecured)
Attn: Bankruptcy Dept.                                                   H                                                                                                                        Notice Only
P.O. Box 30285
Salt Lake City, UT 84130


ACCOUNT NO.          xxxx-2113                                                                 Incurred: 8/2003
                                                                                               Consideration: Credit Card Debt
Capital 1 Bank*
                                                                                               (Unsecured)
Attn: Bankruptcy Dept.                                                   W                                                                                                                        Notice Only
P.O. Box 30285
Salt Lake City, UT 84130


ACCOUNT NO.          xxxx-2646                                                                 Incurred: 2/2008
                                                                                               Consideration: Credit Card Debt
Capital 1 Bank*
                                                                                               (Unsecured)
Attn: Bankruptcy Dept.                                                   W                                                                                                                        Notice Only
P.O. Box 30285
Salt Lake City, UT 84130


 ACCOUNT NO.         xxxx-0463                                             Incurred: 9/1998
                                                                           Consideration: Credit Card Debt
Chase
                                                                           (Unsecured)
P.O. Box 15298                                                           W                                                                                                                        Notice Only
Wilmington, DE 19850
                                                                           1. Closed
                                                                           2. Transferred


           4 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $          1,162.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.          xxxx-2947                                                                 Incurred: 3/2000
                                                                                               Consideration: possible deficiency on
Chase
                                                                                               foreclosed property
P.O. Box 24696                                                           J                                                                                                                        Notice Only
Columbus, OH 43224



ACCOUNT NO.          xxxx-5945                                             Incurred: 1/2001
                                                                           Consideration: Credit Card Debt
Com Serv Grp
                                                                           (Unsecured)
11603 Shelbyville                                                        W                                                                                                                               8,426.00
Louisville, KY 40243
                                                                           Original Creditor: Ipayment Inc.



ACCOUNT NO.          xxxx-83N1                                             Incurred: 3/2014
                                                                           Consideration: Credit Card Debt
Consolidated Rcvy Grp
                                                                           (Unsecured)
425 W 5th Ave. St. 103                                                   W                                                                                                                               1,245.00
Escondido, CA 92025                                                        Original Creditor: Intuit Payment Solutions



ACCOUNT NO.          xxxx-8662                                             Incurred: 9/2001
                                                                           Consideration: Credit Card Debt
Gecrb/mervyns
                                                                           (Unsecured)
P.O. Box 965005                                                          W                                                                                                                        Notice Only
Orlando, FL 32896                                                          1. Closed



 ACCOUNT NO.                                                                                   Incurred: 2013
                                                                                               Consideration: trade debt
Granite Rockcompany
c/o Kevin Jeffery                                           X                                                                                                                                     Notice Only
P.O. Box 50001
Watsonville, CA 95077


           5 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $          9,671.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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B6F (Official Form 6F) (12/07) - Cont.


          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.                                                                                    Incurred: 2010-2014
                                                                                               Consideration: Credit Card Debt
Greenwaste Recovery
                                                                                               (Unsecured)
P.O. Box 11089                                                           C                                                                                                                                405.68
San Jose, CA 95103



ACCOUNT NO.                                                                                    Incurred: 10/10/2010
                                                                                               Consideration: Indemnity
Guarantee Co. of N. America
25800 Northwestern Hwy. #720                                             J                                                                                                                           1,500,000.00
Southfield, Michigan 48075



ACCOUNT NO.          xxxx-6433                                             Incurred: 6/2008
                                                                           Consideration: Credit Card Debt
Hfc - Usa
                                                                           (Unsecured)
P.O. Box 3425                                                            W                                                                                                                        Notice Only
Buffalo, NY 14240                                                          1. Closed
                                                                           2. Transferred


ACCOUNT NO.          xxxx-6433                                                                 Incurred: 6/2008
                                                                                               Consideration: Credit Card Debt
HFC/Beneficial Mtg Services*
                                                                                               (Unsecured)
Attn: Bankruptcy                                                         W                                                                                                                        Notice Only
961 Weigel Dr.
Elmhurst, IL 60126


 ACCOUNT NO.                                                                                   Incurred: 2010-2014
                                                                                               Consideration: Credit Card Debt
LTD Financial Services, L.P.
                                                                                               (Unsecured)
7322 Southwest Frwy, Suite 1600                                          C                                                                                                                               8,247.71
Houston, TX 77074
                                                                                               Original Creditor: Home Depot



           6 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $      1,508,653.39
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                      AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                  OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.                                                                                    Incurred: 2010-2014
Mcarthy, Burgess & Wolfe
26000 Cannon Rd.                                                         C                                                                                                                           4,000.00
Cleveland, OH 44146



ACCOUNT NO.                                                                                    Incurred: 2010-2014
                                                                                               Consideration: Credit Card Debt
Michael Ackerman, Esq.
                                                                                               (Unsecured)
2391 The Alameda, Suite 100                                              C                                                                                                                           3,897.33
Santa Clara, CA 95050



ACCOUNT NO.          xxxx-0830                                             Incurred: 5/2012
                                                                           Consideration: Credit Card Debt
Midland Funding
                                                                           (Unsecured)
8875 Aero Dr. Ste. 200                                                   W                                                                                                                          11,064.00
San Diego, CA 92123                                                        Original Creditor: Chase Bank USA N.A.



ACCOUNT NO.          xxxx-5938                                             Incurred: 6/2012
                                                                           Consideration: Credit Card Debt
Midland Funding
                                                                           (Unsecured)
8875 Aero Dr. Ste. 200                                                   W                                                                                                                           6,078.00
San Diego, CA 92123                                                        Original Creditor: Chase Bank USA N.A.



 ACCOUNT NO.                                                               Incurred: 12/27/2012
                                                                           Consideration: Credit Card Debt
Midland Funding L.L.C.
                                                                           (Unsecured)
c/o Robinson-Mcelroy, Saraha                                             W                                                                                                                           5,963.00
10601-G Tierrasanta Blvd.
                                                                           Case no. CISCV175897
San Diego, CA 92124                                                        Judgment on 8/2/2013


           7 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $     31,002.33
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.          xxxx-3405                                                                 Incurred: 11/2001
                                                                                               Consideration: possible deficiency on
Ocwen Loan Servicing L
                                                                                               foreclosed property
3451 Hammond Ave.                                                        J                                                                                                                        Notice Only
Waterloo, IA 50702                                                                             1. Closed



ACCOUNT NO.                                                                                    Incurred: 2010-2013
                                                                                               Consideration: Credit Card Debt
Oliphant Financial, LLC
                                                                                               (Unsecured)
2601 Cattlemen Rd.                                                                                                                                                                                Notice Only
Sarasota, FL 34232
                                                                                               Collection agent for Capital one



ACCOUNT NO.                                                                                    Incurred: 2010-2014
                                                                                               Consideration: Credit Card Debt
OSH
                                                                                               (Unsecured)
P.O. Box 5025                                                            C                                                                                                                               2,051.21
Carol Stream, IL 60197



ACCOUNT NO.                                                                                    Incurred: 2010-2014
                                                                                               Consideration: supplies
Performance Food Service
P.O. Box 1801                                                            C                                                                                                                        Notice Only
Santa Cruz, CA 95061



 ACCOUNT NO.                                                                                   Incurred: 2010-2014
                                                                                               Consideration: Gas & Electric Service
PG&E
Box 997300                                                               C                                                                                                                              20,679.72
Sacramento, CA 95899-7300



           8 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $         22,730.93
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.          xxxx-7674                                                                 Incurred: 11/2009
                                                                                               Consideration: Credit Card Debt
Sears/cbna
                                                                                               (Unsecured)
133200 Smith Rd.                                                         H                                                                                                                        Notice Only
Cleveland, OH 44130                                                                            1. Closed by grantor



ACCOUNT NO.          xxxx-1673                                                                 Incurred: 4/2004
                                                                                               Consideration: possible deficiency on
Select Portfolio Servicing*
                                                                                               foreclosed property
P.O. Box 65250                                                           J                                                                                                                        Notice Only
Salt Lake City, UT 84165



ACCOUNT NO.          xxxx-1673                                                                 Incurred: 4/2004
                                                                                               Consideration: possible deficiency on
Select Portfolio Svcin
                                                                                               foreclosed property
3815 South West Temple St.                                               J                                                                                                                        Notice Only
Salt Lake City, UT 84115                                                                       1. Closed



ACCOUNT NO.          xxxx-7557                                                                 Incurred: 4/2008
                                                                                               Consideration: Credit Card Debt
Sst/columbus Bank&trus*
                                                                                               (Unsecured)
Attn" Bankruptcy                                                         H                                                                                                                        Notice Only
P.O. Box 3997
St. Joseph, MO 64503


 ACCOUNT NO.         xxxx-7557                                                                 Incurred: 4/2008
                                                                                               Consideration: Credit Card Debt
Sst/synovus
                                                                                               (Unsecured)
P.O. Box 3997                                                            H                                                                                                                              10,191.00
Saint Joseph, MO 64503



           9 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $         10,191.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                         AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                     OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.                                                                                    Action dismissed 2-2013
Stonhard
c/o Matthew Wisinski                                        X                                                                                                                                     Notice Only
44 Montgomery St.
San Francisco, CA 94104


ACCOUNT NO.                                                                                    Incurred: May 2013
                                                                                               Consideration: surety
The Ohio Casualty Insurance Co.
c/o James D. Curran                                                                                                                                                X                                 1,000,000.00
555 Montgomery St., Ste 1100
San Francisco, CA 94111-2544


ACCOUNT NO.                                                     Incurred: 12/5/2012
                                                                Consideration: Supplies
Tose Supply Company, Inc.
                                                                Case No. SCWWS120906
144 Walnut Ave., Ste B                                      X W                                                                                                                                          1,864.00
Santa Cruz, CA 95060                                            Judgment on 2/13/2013



ACCOUNT NO.          xxxx-7618                                                                 Incurred: 4/2004
                                                                                               Consideration: possible deficiency on
Wells Fargo Home Mortgage
                                                                                               foreclosed property
P.O. Box 10328                                                           J                                                                                                        X               Notice Only
Des Moines, IA 50306                                                                           1. Closed



 ACCOUNT NO.         xxxx-7618                                                                 Incurred: 4/2004
                                                                                               Consideration: possible deficiency on
Wells Fargo Home Mortgage*
                                                                                               foreclosed property
Attn: Bankruptcy Dept.                                                   J                                                                                                                        Notice Only
1 Home Campus MAC #2302-04C
Des Moines, IA 50328


           10 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $      1,001,864.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
  Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-813 - 31614-302Y-***** - PDF-XChange 3.0                                                                                     Page 27 of
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B6F (Official Form 6F) (12/07) - Cont.


          Dene Bustichi & Melodie Bustichi
  In re __________________________________________________,                                                                                   14-52222-ASW
                                                                                                                                   Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                      AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                  OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.                                                                                    Consideration: Collection
                                                                                               Default entered is void under in re Schwartz
Wesco Insurance Company
c/o Carlos Sosa                                             X                                                                                                                     X                 25,000.00
18757 BurbankBlvd., Ste 305
Tarzana, CA 91356


ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




 ACCOUNT NO.




           11 of _____continuation
Sheet no. _____    11               sheets attached                                                                                                 Subtotal                                  $     25,000.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $   2,720,798.99
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
          Case: 14-52222                       Doc# 24                                 Filed: 07/07/14 Entered: 07/07/14 19:11:12
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B6G (Official Form 6G) (12/07)


        Dene Bustichi & Melodie Bustichi                                                                                 14-52222-ASW
In re                                                                                                        Case No.
                              Debtor                                                                                           (if known)

        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
            Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
 State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
 names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
 contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
 guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

        Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                    DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
           OF OTHER PARTIES TO LEASE OR CONTRACT.                                                       NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.

BCI Builders                                                                                        Lease on nonresidential real property
4652 Scotts Valley Dr. #202
Scotts Valley, CA 95066



Mint                                                                                                Lease on nonresidential real property
4652 Scotts Valley Dr. #103
Scotts Valley, CA 95066



Mint Warehouse                                                                                      Lease on nonresidential real property
4652 Scotts Valley Dr. #103
Scotts Valley, CA 95066



Palomar Ballroom                                                                                    Lease on nonresidential real property
4652 Scotts Valley Dr. #204
Scotts Valley, CA 95066



Perry Ralston                                                                                       Lease on nonresidential real property
4652 Scotts Valley Dr. #106
Scotts Valley, CA 95066



RKD                                                                                                 Expired lease
4652 Scotts Valley Dr. #107
                                                                                                    Lease on nonresidential real property
Scotts Valley, CA 95066



Teal                                                                                                Lease on nonresidential real property
4652 Scotts Valley Dr. #101
Scotts Valley, CA 95066




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                                                                                    39
  B 6G (Official Form 6G) (12/07) -- Cont.



I n re
         Dene Bustichi & Melodie Bustichi                                                                   Case No.
                                                                                                                             14-52222-ASW
                                Debtor                                                                                             (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                            (Continuation Page)
                                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                     DEBTOR’S INTEREST. STATE WHETHER LEASE I S FOR
            OF OTHER PARTIES TO LEASE OR CONTRACT.                                                         NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
         KAS                                                                                                Expired lease
         4652 Scotts Valley Dr. #108
                                                                                                            Lease on nonresidential real property
         Scotts Valley, CA 95066




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                                                                                            39
B6H (Official Form 6H) (12/07)




In re   Dene Bustichi & Melodie Bustichi                                                                     Case No.      14-52222-ASW
                               Debtor                                                                                              (if known)


                                                         SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
Fed. Bankr. P. 1007(m).
    Check this box if debtor has no codebtors.



                 NAME AND ADDRESS OF CODEBTOR                                                                           NAME AND ADDRESS OF CREDITOR


   BCI Builders                                                                                         Big Creek Lumber
   4652 Scotts Valley Dr. #202                                                                          2801 Soquel Ave.
   Scotts Valley, CA 95066                                                                              Santa Cruz, CA 95062

   BCI Builders                                                                                         Granite Rockcompany
   4652 Scotts Valley Dr. #202                                                                          c/o Kevin Jeffery
   Scotts Valley, CA 95066                                                                              P.O. Box 50001
                                                                                                        Watsonville, CA 95077

   BCI Builders                                                                                         Stonhard
   4652 Scotts Valley Dr. #202                                                                          c/o Matthew Wisinski
   Scotts Valley, CA 95066                                                                              44 Montgomery St.
                                                                                                        San Francisco, CA 94104

   BCI Builders                                                                                         Tose Supply Company, Inc.
   4652 Scotts Valley Dr. #202                                                                          144 Walnut Ave., Ste B
   Scotts Valley, CA 95066                                                                              Santa Cruz, CA 95060




           Case: 14-52222                       Doc# 24               Filed: 07/07/14 Entered: 07/07/14 19:11:12
   Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-813 - 31614-302Y-***** - PDF-XChange 3.0                                      Page 31 of
                                                                                    39
 Fill in this information to identify your case:


 Debtor 1           Dene Bustichi
                    __________________________________________________________ _________
                     First Name                    Middle Name                    Last Name

 Debtor 2            Melodie Bustichi
                     __________________________________________________________________
 (Spouse, if filing) First Name                    Middle Name                    Last Name

                                               Northern
 United States Bankruptcy Court for the: ___________________________             CA
                                                                     District of ________

 Case number                            14-52222-ASW
                     ___________________________________________                                                       Check if this is:
  (If known)
                                                                                                                          An amended filing
                                                                                                                          A supplement showing post-petition
                                                                                                                          chapter 13 income as of the following date:
                                                                                                                          ________________
Official Form                     6I                                                                                      MM / DD / YYYY


Schedule I: Your Income                                                                                                                                             12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                                        Debtor 1                                        Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
                                                Employment status
                                                                                    X
    information about additional                                                         Employed                                           Employed
    employers.                                                                           Not employed                                   X   Not employed
    Include part-time, seasonal, or
    self-employed work.                                                          Contractor/ Bus Owner                            Housewife
                                                Occupation                         __________________ ________________              __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                                                                 B.C.I. Builders, Inc.
                                                Employer’s name                    __________________________________               __________________ ________________


                                                Employer’s address               4652 Scotts Valley Drive, Suite 202
                                                                                  _______________________________________           _______________________________________
                                                                                   Number Street                                     Number   Street

                                                                                  _______________________________________           _______________________________________

                                                                                  _______________________________________           _______________________________________

                                                                                 Scotts Valley, CA 95066
                                                                                  _______________________________________           _______________________________________
                                                                                   City            State  ZIP Code                   City                State ZIP Code

                                                How long employed there?                  20 years
                                                                                         _______                                      _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.                           2.       6,833.00                      0.00
                                                                                                                 $___________           $____________

 3. Estimate and list monthly overtime pay.                                                                3.            0.00
                                                                                                                + $___________      +           0.00
                                                                                                                                        $____________


 4. Calculate gross income. Add line 2 + line 3.                                                           4.       6,833.00
                                                                                                                 $__________
                                                                                                                                                  0.00
                                                                                                                                        $____________



Official Form       6I                                                        Schedule I: Your Income                                                           page 1

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               Case: 14-52222                     Doc# 24               Filed: 07/07/14 Entered: 07/07/14 19:11:12                                       Page 32 of
                                                                                      39
                  Dene Bustichi                                                                                                                 14-52222-ASW
Debtor 1         _______________________________________________________                                                   Case number   (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                                non-filing spouse
                                                                                                                             6,833.00                       0.00
   Copy line 4 here ............................................................................................   4.      $___________             $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.       1,025.00
                                                                                                                          $____________
                                                                                                                                                            0.00
                                                                                                                                                    $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.           0.00
                                                                                                                          $____________                     0.00
                                                                                                                                                    $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.           0.00
                                                                                                                          $____________
                                                                                                                                                            0.00
                                                                                                                                                    $_____________
     5d. Required repayments of retirement fund loans                                                              5d.
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                            0.00
                                                                                                                                                    $_____________
     5e. Insurance                                                                                                 5e.
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                            0.00
                                                                                                                                                    $_____________
     5f. Domestic support obligations                                                                              5f.
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                            0.00
                                                                                                                                                    $_____________
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                            0.00
                                                                                                                                                    $_____________
     5g. Union dues                                                                                                5g.
     5h.                              ;
           Other deductions. Specify: __________________________________                                           5h.            0.00
                                                                                                                         + $____________        +           0.00
                                                                                                                                                    $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.        1,025.00
                                                                                                                          $____________
                                                                                                                                                            0.00
                                                                                                                                                    $_____________

                                                                                                                             5,808.00                       0.00
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________             $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                15,402.00                       0.00
                                                                                                                          $____________             $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.
                                                                                                                                  0.00                      0.00
                                                                                                                                                    $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                      0.00
                                                                                                                          $____________             $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.           0.00
                                                                                                                          $____________                     0.00
                                                                                                                                                    $_____________
     8e. Social Security                                                                                           8e.           0.00
                                                                                                                          $____________                     0.00
                                                                                                                                                    $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00                      0.00
                                                                                                                          $____________             $_____________
         Nutrition Assistance Program) or housing subsidies.
                    ;
         Specify: ______________________________________         _____________ 8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                     0.00
                                                                                                                                                    $_____________
                                        Co. Bd of Educ.: 7000/year;
     8h. Other monthly income. Specify: __________________          City of8h.ScottValle
                                                           _____________             1,083.00
                                                                                         5000.00;
                                                                                + $____________                                                           0.00
                                                                                                                                                + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       16,485.00
                                                                                                                          $____________                     0.00
                                                                                                                                                    $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                            22,293.00
                                                                                                                          $___________      +               0.00 = $_____________
                                                                                                                                                    $_____________     22,293.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                     11.              0.00
                                                                                                                                                                         + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                               22,293.00
                                                                                                                                                                           $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                   12.
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                                  page 2
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                                                                                            39
  Fill in this information to identify your case:

  Debtor 1           Dene Bustichi
                    __________________________________________________________________
                      First Name                    Middle Name                    Last Name                         Check if this is:
  Debtor 2            Melodie Bustichi
                      ________________________________________________________________
  (Spouse, if filing) First Name                    Middle Name                    Last Name
                                                                                                                         An amended filing
                                                                                                                     X A supplement showing post-petition chapter 13
                                                Northern
  United States Bankruptcy Court for the: ___________________________ District of CA
                                                                                  ________
                                                                                                                         expenses as of the following date:
                                                                                                                          12/30/2013
                                                                                                                         ________________
  Case number                            14-52222-ASW
                      ___________________________________________                                                        MM / DD / YYYY
  (If known)
                                                                                                                         A separate filing for Debtor 2 because Debtor 2
                                                                                                                         maintains a separate household
Official Form                      6J
Schedule J: Your Expenses                                                                                                                                             12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

        No. Go to line 2.
   X    Yes. Does Debtor 2 live in a separate household?
                X    No
                     Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                             No                                         Dependent’s relationship to              Dependent’s     Does dependent live
   Do not list Debtor 1 and                      X     Yes. Fill out this information for Debtor 1 or Debtor 2                             age             with you?
   Debtor 2.                                           each dependent ..........................
                                                                                                   daughter                                14                   No
   Do not state the dependents’                                                                    __________________ _______              ________
   names.                                                                                                                                                  X    Yes
                                                                                                   son
                                                                                                   __________________ _______
                                                                                                                                            20
                                                                                                                                           ________             No
                                                                                                                                                           X    Yes

                                                                                                   __________________ _______              ________             No
                                                                                                                                                                Yes

                                                                                                   __________________ _______              ________             No
                                                                                                                                                                Yes

                                                                                                   __________________ _______              ________             No
                                                                                                                                                                Yes

3. Do your expenses include                       X    No
   expenses of people other than
   yourself and your dependents?                       Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                          Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                          4,455.10
                                                                                                                                             $_____________________
     any rent for the ground or lot.                                                                                                 4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                                        4a.
                                                                                                                                                                127.54
                                                                                                                                             $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                             4b.                      0.00
                                                                                                                                             $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                            4c.                      0.00
                                                                                                                                             $_____________________
     4d.    Homeowner’s association or condominium dues                                                                              4d.                      0.00
                                                                                                                                             $_____________________

Official Form         6J                                                Schedule J: Your Expenses                                                                 page 1


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                                                                                       39
 Debtor 1         Dene Bustichi
                 _______________________________________________________                   Case number          14-52222-ASW
                                                                                                         (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                                   1,184.20
                                                                                                                       $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:
                                                                                                                                        100.00
      6a.   Electricity, heat, natural gas                                                                      6a.    $_________________ ____
                                                                                                                                          80.00
      6b.   Water, sewer, garbage collection                                                                    6b.    $_________________ ____
                                                                                                                                          60.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                      6c.    $_________________ ____
                                                                                                                                           0.00
      6d.   Other. Specify: _______________________________________________                                     6d.    $_________________ ____
                                                                                                                                        800.00
 7. Food and housekeeping supplies                                                                              7.     $_________________ ____
                                                                                                                                           0.00
 8. Childcare and children’s education costs                                                                    8.     $_________________ ____
                                                                                                                                          70.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_________________ ____
                                                                                                                                        150.00
10.   Personal care products and services                                                                       10.    $_________________ ____
                                                                                                                                        150.00
11.   Medical and dental expenses                                                                               11.    $_________________ ____

12.   Transportation. Include gas, maintenance, bus or train fare.                                                                      500.00
                                                                                                                       $_________________ ____
      Do not include car payments.                                                                              12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                        13.                    0.00
                                                                                                                       $_________________ ____
14.   Charitable contributions and religious donations                                                          14.                  135.83
                                                                                                                       $_________________ ____
                                                                                                                                                      1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                       15a.
                                                                                                                                           0.00
                                                                                                                       $_________________ ____
      15b. Health insurance                                                                                     15b.
                                                                                                                                       0.00
                                                                                                                       $_________________ ____
      15c. Vehicle insurance                                                                                    15c.                 200.00
                                                                                                                       $_________________ ____
      15d. Other insurance. Specify:_________________________ ______________                                    15d.                   0.00
                                                                                                                       $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                       0.00
                                                                                                                       $_________________ ____
      Specify: ______________________________________ __________________                                        16.

17.   Installment or lease payments:
                                                                                                                                           0.00
      17a. Car payments for Vehicle 1                                                                           17a.   $_________________ ____
                                                                                                                                           0.00
      17b. Car payments for Vehicle 2                                                                           17b.   $_________________ ____
                              Scotts Valley Dr. Property Tax                                                                          2,018.92
      17c. Other. Specify:_________________________________ ______________                                      17c.   $_________________ ____
                                                                                                                                           0.00
      17d. Other. Specify:_________________________________ ______________                                      17d.   $_________________ ____

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                              0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                       18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                                 19.                   0.00
                                                                                                                       $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.
                                                                                                                                        0.00
                                                                                                                       $_____________________
                                                                                                                                           0.00
                                                                                                                       $_____________________
      20b. Real estate taxes                                                                                   20b.

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.
                                                                                                                                        0.00
                                                                                                                       $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.
                                                                                                                                        0.00
                                                                                                                       $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.
                                                                                                                                       0.00
                                                                                                                       $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                     page 2

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                                                                             39
 Debtor 1          Dene Bustichi
                  _______________________________________________________                     Case number          14-52222-ASW
                                                                                                            (if known)_____________________________________
                  First Name    Middle Name       Last Name




                                                                                                                                              0.00
21.    Other. Specify: ________________________________ _________________                                         21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                                10,031.59
                                                                                                                          $_____________________
       The result is your monthly expenses.                                                                       22.




23. Calculate your monthly net income.
                                                                                                                                       22,293.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.               10,031.59
                                                                                                                        – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                  12,261.41
                                                                                                                           $_________________ ____
             The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      X   No.
          Yes.      Explain here:




 Official Form      6J                                        Schedule J: Your Expenses                                                         page 3

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       B6 Summary (Official Form 6 - Summary) (12/13)




                                                     United States Bankruptcy Court
                    Dene Bustichi & Melodie Bustichi
                                                                    Northern District of California

     In re                                                                                                                 Case No.      14-52222-ASW
                                                                       Debtor
                                                                                                                           Chapter       13

                                                                  SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                            AMOUNTS SCHEDULED
                                                         ATTACHED
  NAME OF SCHEDULE                                        (YES/NO)                 NO. OF SHEETS                  ASSETS             LIABILITIES         OTHER

  A – Real Property
                                                          YES                                  1            $   3,892,045.00

  B – Personal Property
                                                          YES                                  5            $    226,525.00

  C – Property Claimed
      as exempt                                           YES                                  1

  D – Creditors Holding
     Secured Claims                                       YES                                  3                                 $   5,376,391.76

  E - Creditors Holding Unsecured
      Priority Claims                                                                                                            $
     (Total of Claims on Schedule E)
                                                          YES                                  5                                        14,402.00

  F - Creditors Holding Unsecured                                                                                                $
      Nonpriority Claims                                  YES                                  12                                    2,720,798.99

  G - Executory Contracts and
      Unexpired Leases                                    YES                                  2


  H - Codebtors                                           YES                                  1

  I - Current Income of
      Individual Debtor(s)                                YES                                  2                                                     $   22,293.00

  J - Current Expenditures of Individual
      Debtors(s)                                          YES                                  3                                                     $   10,031.59


                                            TOTAL                                              35           $   4,118,570.00     $    8,111,592.75




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   Official Form 6 - Statistical Summary (12/13)

                                               United States Bankruptcy Court
                                                                  Northern District of California

                  In re        Dene Bustichi & Melodie Bustichi                                                        Case No.      14-52222-ASW
                                                                    Debtor
                                                                                                                       Chapter       13

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

      Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



     Type of Liability                                                                                 Amount
     Domestic Support Obligations (from Schedule E)                                                $
                                                                                                                0.00
     Taxes and Certain Other Debts Owed to Governmental Units (from                                $
     Schedule E)
                                                                                                                0.00
     Claims for Death or Personal Injury While Debtor Was Intoxicated (from                        $
     Schedule E) (whether disputed or undisputed)                                                               0.00
     Student Loan Obligations (from Schedule F)                                                    $
                                                                                                                0.00
     Domestic Support, Separation Agreement, and Divorce Decree                                    $
     Obligations Not Reported on Schedule E                                                                     0.00
     Obligations to Pension or Profit-Sharing, and Other Similar Obligations                       $
     (from Schedule F)                                                                                          0.00

                                                                                     TOTAL         $            0.00


    State the Following:
     Average Income (from Schedule I, Line 12)                                                     $      22,293.00
     Average Expenses (from Schedule J, Line 22)                                                   $
                                                                                                          10,031.59
     Current Monthly Income (from Form 22A Line 12; OR, Form
     22B Line 11; OR, Form 22C Line 20 )                                                           $
                                                                                                          21,214.32


    State the Following:
     1. Total from Schedule D, “UNSECURED PORTION, IF                                                                  $
     ANY” column                                                                                                           1,823,755.26

     2. Total from Schedule E, “AMOUNT ENTITLED TO                                                  $
     PRIORITY” column.                                                                                    14,402.00

     3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                                                 $
     PRIORITY, IF ANY” column                                                                                                     0.00

     4. Total from Schedule F                                                                                          $   2,720,798.99
     5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      $
                                                                                                                           4,544,554.25




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      B6 (Official Form 6 - Declaration) (12/07)

                Dene Bustichi & Melodie Bustichi
      In re                                                                                                                                        Case No. 14-52222-ASW
                                             Debtor                                                                                                                  (If known)

                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                          37
                 I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
      are true and correct to the best of my knowledge, information, and belief.



       Date       7/7/2014                                                                                                  Signature:          /s/ Dene Bustichi
                                                                                                                                                                               Debtor


       Date       7/7/2014                                                                                                  Signature:          /s/ Melodie Bustichi
                                                                                                                                                                      (Joint Debtor, if any)

                                                                                                                                   [If joint case, both spouses must sign.]
   -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                               DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
 compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
 110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
 by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
 accepting any fee from the debtor, as required by that section.


 Printed or Typed Name and Title, if any,                                                                                             Social Security No.
 of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
  who signs this document.




  Address

  X
                       Signature of Bankruptcy Petition Preparer                                                                                                      Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
-------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


      I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


Date                                                                                                                 Signature:


                                                                                                                                      [Print or type name of individual signing on behalf of debtor.]
                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
        Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


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